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In The UNITED STATES                   YiVlX^Ji^ '>f^ ^t^XKHt>^tl\
                                                                                                            viAR I 2 2019
THE UNITED STATES OF AMERICA - Plaintiff;
                                                                                                      CLERK U.S. DI3TH=CT CUURT
V.                                                                                                       AI.EXA:-TRIA, ViRGi-MIA

ALI SHUKRIAMIN-Defendant;                                    Criminal No.       -c - ®0ife4.-CmK-1

MOTION for DISCLOSURE of: GRAND JURY TRANSCRIPTS, BALLOT, or RECORD for INSPECTION; INDICTMENT; and
CRIMINAL COMPLAINT

NOW COMES movant All Shukii Amin, acting in proper person, to respectfully request this Court to issue an "Order of
Disclosure" for several essential documents pertaining to his criminal prosecution. The documents requested for disclosure are:
grand jury hearing transcripts, ballot, or record for inspection: indictment pertaining to the criminal charge; and criminal
complaint.

In support of the foregoing, the movant states the following facts:

I . REASONS(INJUSTICE ARGUMENT)

a)Capital or Infamous crimes may not be charged against any person without presentment of an indictment by a grand jury of
his peers;

b) Grand jury transcripts, ballots, and records must be available for inspection so as to determine the validity of those
proceedings;

c) An affidavit of criminal complaint is required to establish probable cause of any potential criminal conduct;
d)Without an indictment, no criminal complaint may be filed;

e)Without a criminal complaint, no jurisdiction is established;

f) If jurisdiction is not established, no arrest warrant or summons may be used to detain a person;
g) If the Rules of criminal procedure are significantly violated, a person's due process rights are violated;
h) Due process includes "life, liberty, and the pursuit of happiness" or "property" which are stripped by incarceration;
I) Amin was convicted of"Conspiracy to Provide Material Support to a Foreign Terrorist Organization" 21 United States Code,
section 2339, subsection (b);

j) Without disclosure of the requested documents, movant cannot ascertain whether or not his due process rights were upheld;
k) Their absence on the court's docket indicateslnjustice;
k) The hearings pursuant to some or all of these documents and their inclusion on the record were not docketed by the court,
and;

I) Movant is financially Incapable of procuring these documents without the court's assistance.

II . REQUEST for RELIEF

Movant requests the following documents for disclosure:
